Case: 1:05-cv-07097 Document #: 3674 Filed: 08/11/10 Page 1 of 4 PageID #:43825




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


 IN RE AMERIQUEST MORTGAGE CO.                          MDL No. 1715
 MORTGAGE LENDING PRACTICES
 LITIGATION                                             Lead Case No. 05-cv-07097

                                                        Centralized before The Honorable
                                                        Marvin E. Aspen

 This Document relates to: Yvonne D. Nimox v.
 Ameriquest Mortgage Company, et al.; Case No.
 07 C 316



   AMERIQUEST MORTGAGE COMPANY S JOINDER IN WELLS FARGO
 HOME MORTGAGE, INC. d/b/a AMERICA S SERVICING COMPANY S RULE
                   41(b) MOTION TO DISMISS

         Defendant Ameriquest Mortgage Company hereby joins in the Rule 41(b) Motion
 to Dismiss ( Motion ) filed by Defendant Wells Fargo Home Mortgage, Inc. d/b/a
 America s Servicing Company which has been scheduled for hearing by the above-
 referenced Court on August 24, 2010 [Docket No. 3669]. For the reasons set forth in the
 Motion, Ameriquest Mortgage Company respectfully requests that it be dismissed from
 this case as well.

                                              Respectfully submitted,

 DATED: August 11, 2010                       By: /s/ Bernard E. LeSage
                                              Attorneys for Ameriquest Mortgage Company

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 BN 6638144v1
Case: 1:05-cv-07097 Document #: 3674 Filed: 08/11/10 Page 2 of 4 PageID #:43826




                              CERTIFICATE OF SERVICE

         I, Bernard E. LeSage, hereby certify that on this 11th day of August 2010, a true
 and correct copy of the foregoing document was filed electronically. Notice of this filing
 will be sent by electronic mail to all counsel of record by operation of the Court s
 electronic filing system. I further certify that a true and correct copy of the foregoing
 document was sent via U.S. Mail to the addressees on the attached Service List. I also
 certify that a hard copy was served via certified and regular mail to:

                                           Yvonne Nimox
                                         12225 Mansfield St.
                                          Detroit, MI 48227

         Parties may access this filing through the Court s system.


                                               By: /s/ Bernard E. LeSage




 BN 6638144v1
Case: 1:05-cv-07097 Document #: 3674 Filed: 08/11/10 Page 3 of 4 PageID #:43827




    IN RE AMERIQUEST CO. MORTGAGE LENDING PRACTICES LITIGATION
                             MDL No. 1715
                        Lead Case No. 05-cv-07097

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 BN 6638144v1
Case: 1:05-cv-07097 Document #: 3674 Filed: 08/11/10 Page 4 of 4 PageID #:43828




    IN RE AMERIQUEST CO. MORTGAGE LENDING PRACTICES LITIGATION
                             MDL No. 1715
                        Lead Case No. 05-cv-07097

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 BN 6638144v1
